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                    In the United State District Court
                         for the District of Utah

Victoria Mendoza,                            Response to Motion to Dismiss
                                             Mendoza’s Petition;
      Petitioner – Plaintiff,
v.                                           Response to Motion to Dismiss
                                             Weber County as a Defendant;
Terry Thompson et al.,
                                             Reply to Objection to
      Respondents – Defendant.               Preliminary Injunction
                                             Case No. 1:15-cv-090-DN
                                             Judge David Nuffer

      Petition–Plaintiff Victoria Mendoza, through her counsel Nathan Phelps,

hereby enter this response to Respondent’s motion to dismiss Mendoza’s complaint

(Doc. 20), Respondents’ motion to dismiss Weber County as a party (Doc. 16), and a

reply to Respondents’ objections to Mendoza’s motion for a preliminary injunction.

(Doc. 21). Counsel enter his omnibus response/reply because they all involve the

same core issues of law.

      Mendoza requests that this Court deny both motions to dismiss and grant the

preliminary injunction over the Respondents’ objections.
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                                          I.
                                  ARGUMENT

      This Court is aware of the essential facts of this case. Mendoza is currently in

the custody of the Weber County Sheriff. At the end of November, she is scheduled

to be tried for murder, a first-degree felony under Utah Code § 76-5-203. If

convicted, she faces an indeterminate term of 15 years to life in prison. Id.

      At this point, Utah state law has placed before the indigent Mendoza an

impossible choice: stick with the counsel she trusts but forego any expert assistance

necessary for her defense, or give up the attorney of her choice to get that expert

assistance.

      In her complaint, Mendoza explains one of the big reasons why she does not

want to accept as her counsel any of the attorneys who, pursuant to contract with

Weber County, provide assistance to indigent defendants. Indeed, she has made the

point so clear that the State1 responds almost as if the deficiencies in the Weber

indigent defense system were the only issue raised.

      But it is not. Indeed, the ineffective assistance she will receive if she is forced

to give up her present retained counsel for defense resources is only a secondary

issue. Mendoza’s primary concern, and the cornerstone of her complaint is this: as

an indigent defendant with retained counsel, Utah’s Indigent Defense Act

unconstitutionally forces her to waive one right to exercise another. Moreover, she




      1 Throughout this memorandum, the various respondents and defendants,
represented by the Utah Attorney General’s Office, are simply referred to as “the
State.”
                                               1
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is challenging this unlawful deprivation under 42 U.S.C. § 1983, not just 28 U.S.C. §

2241.

        As shall be demonstrated, this cornerstone issue answers all of Weber

County’s objections, especially when it is considered under § 1983.

A.      The choice-of-counsel issue

        Because it appears to have been misunderstood, the following section

explains the choice-of-counsel issue step-by-step. However, those steps are pretty

short, as just three fundamental principles frame it.

        First, both the Equal Protection Clause and the Due Process Clause of the

Fourteenth Amendment require states to “provide indigent prisoners with the basic

tools of an adequate defense.”2 Among those “basic tools” are psychiatric and

forensic experts.3 For brevity, we will call this the Ake principle.

        The second guiding principle in this suit is the choice-of-counsel right

inherent in the Sixth Amendment.4 “The right to select counsel of one’s choice . . .

has been regarded as the root meaning of the constitutional guarantee.”5 When a

defendant is wrongly denied her choice of counsel, it is structural error that renders

any resulting judgment void.6 While the right to select counsel of choice is not

absolute, the only relevant limit here is that it “does not extend to defendants who


        Britt v. North Carolina, 404 U.S. 226, 227 (1971); Ake v. California, 470
        2

U.S. 68, 76 (1985).
        See, e.g., Johnson v. Gibson, 169 F.3d 1239, 1246–47 (10th Cir. 1999); Dunn
        3

v. Roberts, 963 F.2d 308, 312–14 (10th Cir. 1992).
        4   United States v. Gonzalez-Lopez, 548 U.S. 140, 147–48 (2006).
        5   Id.
        6   See id. at 148–51.
                                                2
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require counsel to be appointed for them.”7 In other words, indigent defendants who

require a court to appoint counsel can’t pick who will be appointed. This is the

Gonzalez-Lopez principle.

      Finally, there is the Simmons principle—the idea that the exercise of one

constitutional right may not be conditioned on the forfeiture of another. The

Supreme Court stated, “we find it intolerable that one constitutional right should

have to be surrendered in order to assert another.”8 Such trade-offs aren’t

condemned just in the context of the Fourth Amendment right to privacy and the

Fifth Amendment right against self-incrimination, the Hobson’s choice presented in

Simmons.9 These trade-offs are condemned whenever a government forces a

defendant to give up one constitutional right for another. Thus, for example, in

Lefkowitz v. Cunningham, the Supreme Court condemned a New York statute that

required political part officers to waive their right against self-incrimination or face

a five-year ban on holding any public or party office. The Court held that the statute

improperly forced a party officer to choose between the First Amendment Right to

political association and the Fifth Amendment Right and compelled self-

incrimination.10


      7   Id. at 151 (emphasis added).
      8   Simmons v. United States, 390 U.S. 377, 394 (1968).
      9   See id. at 389–94.
      10 431 U.S. 801, 802–808 (1977). See also Hunt v. Mitchell, 261 F.3d 575, 584
(6th Cir. 2001) (improper to force choice between Sixth Amendment right to counsel
and statutory speedy-trial right); State v. Larson, 2008 UT App 360, para. 8 n.1
(unpublished) (“We acknowledge that there is binding precedent to the effect that a
defendant cannot be forced to give up one constitutional right in favor of another.”);
cf. Koontz v. St. Johns River Water Mgmt. Dist., 133 S.Ct. 2586, 2595 (2013)
(government may not burden “the Constitution’s enumerated rights by coercively
                                              3
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      These principles irreconcilably conflict with Utah’s Indigent Defense Act. The

Indigent Defense Act, found in Utah Code sections 77-32-101 through -704,

“foreclos[es] an indigent defendant in a criminal action from retaining private

counsel while requesting public defense resources from the government . . . by

generally11 conditioning an indigent defendant’s eligibility for such resources on the

retention of publicly funded counsel.”12 In other words, the Indigent Defense Act

forces an indigent defendant to pick between her right to her counsel of choice, as

guaranteed by Gonzalez-Lopez, and her right to defense resources, as guaranteed by

Ake. Under Simmons, compelling such a choice is intolerable. As written, the

Indigent Defense Act is unconstitutional.

      This argument and its conclusion are not novel. Generally, the propriety of

private counsel requesting public funds for defense resources has been resolved on

statutory grounds, and almost uniformly in favor of allowing the request.13 But at

least six different state courts have ruled that as a matter of constitutional law,


withholding benefits from those who exercise them”).
      11 The Utah Supreme Court’s qualification is an apparent acknowledgment
that defense resources can be provided to an indigent defendant with retained
counsel, but only after an intrusive hearing in which the contract between the
defendant and his appointed counsel is reviewed and an accounting is made of the
retainer. Utah Code § 77-32-303(3)(b). If the defendant can show by clear and
convincing evidence that she would be irreparably prejudiced by having to give up
her retained counsel for appointed counsel (among other things), only then will
defense resources be provided to an indigent defendant with retained counsel.
      12   State v. Earl, 2015 UT 12, ¶ 1, 345 P.3d 1153.
      13See, e.g., State v. Brouillette, 98 A.3d. 1131, 1133–36 (N.H. 2014); Arkansas
Public Defender v. Pulaski County, 365 S.W.3d 193, 194–98 (Ark. 2010); In re T.W.,
932 N.E.2d 125, 130–34 (Ill. App. 2010); but see People v. Cardenas, 62 P.3d 621,
622–23 (Colo. 2002) (denying private interpreter to indigent defendant with pro
bono counsel on statutory grounds).
                                               4
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defense resources cannot be withheld from an indigent defendant who is

represented by private counsel.14 And academic who has examined Utah’s Indigent

Defense Act has come to the same conclusion: the Act violates the constitution by

conditioning an indigent defendant’s access to resources on the acceptance of

appointed counsel.15

      To be fair, at least two state courts have reached the opposite conclusion on

the constitutional question.16 But both decision predate Gonzalez-Lopez, the

decision that made it absolutely clear that the right to counsel of choice was a




      14  State v. Brown, 134 P.3d 753, 761 (N.M. 2006); People v. Ulloa, 766
N.Y.S.2d 699, 700 (N.Y. App. Div. 2003); State v. Frank, 803 So.2d 1, 8 (La. 2001);
Tran v. Superior Court, 112 Cal Rptr. 2d 506, 508 (Cal Ct. App. 2002) (“The test of
entitlement to county assistance in defense preparation must be indigency. A test
based upon the status of defense counsel would be constitutionally infirm.”); Widdis
v. State, 968 P.3d 1165, 1167–68 (Nev. 1998); English v. Missildine, 311 N.W.2d
292, 293–94 (Iowa 1981).
       One state has not decided the constitutional question, State v. Williams, 134
S.W.3d 766, 772–73 (Mo Ct. App 2004), but has indicated it would likely decide in
favor of an indigent with private counsel. State v. Huchting, 927 S.W.2d 411, 419
(Mo Ct. App. 2002).
      Another state has answered a different but similar question, holding that an
indigent defendant has the right to self-representation and the right to defense
resources, and forcing a choice between the two would be intolerable. State v. Wang,
92 A.3d 220, 231–232 (Conn. 2014).
      15John P. Gross, Representation by Counsel or Access to Defense Resources:
Utah’s Single Source Approach to Indigent Defense, 72 Wash. & Lee L. Rev. Online
51, 60–63 (2015), http://scholarlycommons.law.wlu.edu/wlulr-online/vol72/iss1/3.
      16See Moore v. State, 889 A.2d 325, 345–46 (Md. 2005); Chao v. State, 780
A.2d 1060, 1070–71 (Del. 2001), overruled on other grounds by Williams v. State,
818 A.2d 906 (Del. 2002).
                                              5
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separate and free-standing right from the right to effective assistance of counsel.17

Neither state case is consistent with this later Supreme Court precedent.

      The Indigent Defense Act also makes an absurd distinction that underscores

the unconstitutionality of the Act. As written, the Act only restricts defense

resources to an indigent defendant represented by private counsel.18 If an indigent

defendant represents himself, which is also a Sixth Amendment under Faretta v.

California,19 there is no bar on defense resources.20 Thus an indigent defendant can

be represented by appointed counsel or by no counsel and receive defense resources,

while an indigent defendant represented by private counsel, even pro bono, cannot.

There is no rational reason for treating the Sixth Amendment right to counsel of

choice as something less than the Sixth Amendment right to self-representation.

      In sum, through the Indigent Defense Act, Utah has sought to implement a

policy of “beggars can’t be choosers” for indigent defendants seeking to exercise

their constitutional rights. But under Simmons, forcing any defendant to pick

between his rights is prohibits. Under Ake, Gonzalez-Lopez, and Simmons, the

Indigent Defense Act must be found unconstitutional.




      17   548 U.S. at 147–51.
      18   See Utah Code §§ 77-32-302 & -303.
      19   422 U.S. 806 (1975).
      20 See State v. Burns, 2000 UT 56, ¶ 30, 4 P.3d 795, superseded by statute on
other grounds; see also Wang, 92 A.3d at 240 (authorizing indigent self-represented
defendants to “access funding for reasonably necessary defense costs through
standby counsel”).
                                                6
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B.    The State’s motion to dismiss Mendoza’s complaint must be
      denied.

      Mendoza’s complaint list two claims—that representation by Weber County

indigent defense program is constitutionally deficient and that she is wrongly being

denied her choice of counsel.21 When those claims are considered under 28 U.S.C.

§ 2241 and 42 U.S.C. § 1983, none of the State’s arguments for dismissal withstand

scrutiny.

      1.       This Court has subject-matter jurisdiction

      The State claims that this Court lacks subject-matter jurisdiction because

Mendoza isn’t challenging the legality of her custody.22 This is wrong is two

respects.

      First, Mendoza is challenging the legality of her custody. As it stands now,

any trial that takes place in state court will be fatally flawed. Mendoza will either

be tried without counsel of her choice or she will be tried without necessary

resources for her defense. It can’t be claimed that holding her for an invalid trial is

proper. Either she must be afforded that isn’t constitutionally deficient ex ante or

she must be released.23

      Regardless, though, there is a simpler answer. This Court has subject-matter

jurisdiction under § 1983 to hear a challenge to the Indigent Defense Act. The Act




      21   Doc. 2, pp. 11–13.
      22   Doc. 20, pp. 6–8.
      23  Cf. Walck v. Edmondson, 472 F.3d 1227, 1233–35 (10th Cir. 2007)
(recognizing that § 2241 is a proper vehicle to challenge detention when an
“illegitimate” trial awaits)
                                               7
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deprives Mendoza of her “rights, privileges, [and] immunities secured by the

Constitution.”24 Likewise, this Court has jurisdiction to hear a challenge to the

adequacy of Weber County’s indigent defense program under the same statute.

Mendoza’s claims are properly before the Court.

       2.       Mendoza’s claims are cognizable under § 2241 and § 1983

       The second argument the State makes for dismissal is that Mendoza’s claims

aren’t cognizable under § 2241 because they don’t go to her custody.25 Essentially

this is same argument as the one on subject-matter jurisdiction, dressed in different

legal clothing. Like the subject-matter argument, it doesn’t hold up.

       First, Mendoza’s challenge to the Indigent Defense Act and the adequacy of

Weber County’s indigent defense program are cognizable under 42 U.S.C. § 1983.

Second, to the extent that Weber County is holding Mendoza for trial in

constitutionally deficient proceedings, her detention is improper, and a claim of

such is cognizable under 28 U.S.C. § 2241.

       3.       Mendoza has no need to exhaust state court remedies

       The State’s last argument for dismissal is that Mendoza has failed to exhaust

her available state court remedies, and that requires this Court should dismiss her

petition.26

       Unfortunately, the State has elided over many procedural technicalities in

making its argument. While it’s true that exhaustion is generally required for



       24   42 U.S.C. § 1983.
       25   Doc. 20, p. 9.
       26   Doc. 20, pp. 10–12.
                                              8
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claims under § 2241, the exhaustion requirement is not identical to that for post-

conviction claims under 28 U.S.C. § 2254. The latter has strict, statutory exhaustion

requirements that the former doesn’t.27 This is significant, because while Mendoza

did voluntarily dismiss her state interlocutory appeal, she had good reason: one of

her attorneys in the state proceedings was also the attorney for the appellant in

State v. Earl.28 Requiring Mendoza to go through with the appeal when the Earl

court had just determined the Indigent Defense Act to be constitutional would be an

empty gesture.

       Again, though, it is not necessary to go wading into deep waters. Exhaustion

of state court remedies is not a requirement for a suit under 42 U.S.C. § 1983.29

Because Mendoza’s claims sound under both § 2241 and § 1983, exhaustion is no

bar.

       And, because the State’s arguments on subject-matter jurisdiction and the

cognizability of Mendoza’s claims have also failed, the State’s motion to dismiss

must be denied.




       27   See 28 U.S.C. § 2254(b) & (c).
       28   See 2015 UT 12, introductory information.
        See, e.g., Simmons v. Uintah Health Care Special Dist., 506 F.3d 1281,
       29

1286 (10th Cir. 2007) (citing Patsy v. Bd. of Regents of State of Fla., 457 U.S. 496,
516 (1982)).
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C.    The State’s motion to dismiss Weber County as a party
      must be denied.

      The State’s motion to dismiss Weber County as a party to this suit has a

kernel of legitimacy to it. The motion is correct that a suit under § 2241 should have

Mendoza’s custodian, the Weber County Sheriff, named as a respondent.30

      However, it is once again pertinent that Mendoza has filed suit under

42 U.S.C. § 1983. Under Utah law, Weber County is responsible for providing

defense services for indigent defendants prosecuted by the County.31 Because

Mendoza alleges, among other things, that Weber County inadequately funds its

indigent defense program to the extent that it fails to render effective assistance of

counsel, Weber County is a proper defendant in this suit. For that reason, the

State’s motion to dismiss must be denied.32

D.    This Court should enter a preliminary injunction despite
      the State’s objections

      The State has objected to the entry of a preliminary injunction on three

grounds. The first ground—that Mendoza’s suit should be dismissed outright—just

repeats the arguments that were made for dismissal. Because it has already been

refuted above, it will not be addressed again in this part.




      30   Doc. 16, pp. 1–3 (citing 28 U.S.C. 2243).
      31   See Utah Code § 77-32-301(1).
      32Any necessary parties that aren’t currently parties to this suit will be
added once this Court resolves the State’s motion to dismiss.
                                               10
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      Beyond that, the State has argued that no preliminary injunction should be

imposed because of Younger abstention and because Mendoza has not the

requirements for a preliminary injunction. Neither argument withstands scrutiny.

      1.       The principle of Younger abstention is not a bar to an
               injunction

      The State is correct that abstention under Younger v. Harris is a relevant

consideration.33 Indeed, it is probably true that the “ongoing” state proceedings

“implicate an important state interest” and “offer an adequate opportunity to

litigate federal constitutional issues.”34 But that issue need not be decided because

there exists “extraordinary circumstance[s] warranting federal intervention.”35

When such extraordinary circumstances exist, abstention is not required.36

      The first extraordinary circumstance present here is the fact that the

challenged statute, the Indigent Defense Act, is patently unconstitutional.37

Although this exception is not well-defined,38 it is nevertheless applicable by its

very terms here. And discussed above, because the Act forces an indigent defendant

to pick between two independent constitutional rights, it is fatally flawed.




      33   Doc. 21, pp. 9–12.
      34Doc. 21, p. 10 (quoting Winnebago Tribe of Nebraska v. Stovall, 341 F.3d
1202, 1204 (10th Cir. 2003)).
      35   Walck v. Edmondson, 472 F.3d 1227, 1233 (10th Cir. 2007).
      36   Younger v. Harris, 401 U.S. 37, 53 (1971).
      37Phelps v. Hamilton, 59 F.3d 1058, 1063–64 (10th Cir. 1995) (citing
Younger, 501 U.S. 53–54).
      38   See Phelps, 59 at 1064.
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      The second extraordinary circumstance present is the fact that Mendoza will

suffer “irreparable injury.”39 “[A] threat to an individual’s federally protected rights

constitutes irreparable injury where the threat ‘cannot be eliminated by . . . defense

against a single criminal prosecution.’”40 If, as Mendoza has argued, the Indigent

Defense Act is unconstitutional, the trial scheduled to begin at the end of November

will be a pointless affair. Any guilty verdict the results will be eventually

overturned, whether by the Supreme Court, when it reverses the just-issued

decision of State v. Earl, or, if it sticks with its error, when Mendoza inevitably

brings her case back to this Court for post-conviction review. Either way, the

unconstitutional Indigent Defense Act will force Mendoza through multiple criminal

prosecutions in which she will “endure the personal strain, public embarrassment,

and expense of a criminal trial.”41

      “[A]lthough notions of comity and federalism carry heavy weight in our

system of government, such notions do not mean that the federal courts must sit

idly by while the rights conferred on a criminal accused by the [Sixth Amendment’s

Assistance of Counsel Clause] [are] significantly undermined.”42 Because

extraordinary circumstances exist, this Court should not abstain from enjoining the

state proceedings.




      39   Walck, 472 F.3d at 1233.
      40   Id. (citing Younger, 401 U.S. at 46).
      41   Cf. id. at 1234 (in context of a Double Jeopardy violation).
      42   Id. (second alteration in the original, internal quotation omitted).
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      2.       A preliminary injunction is justified under the circumstances
               of this case

      Beyond the argument for abstention, the State argues that an injunction is

just improper in this case.43 As the State correctly states, to obtain a preliminary

injunction, Mendoza must show

            (1) a substantial likelihood of success on the merits of the case;
            (2) irreparable injury to the movant if the preliminary
            injunction is denied; (3) the threatened injury to the movant
            outweighs the injury to the other party under the preliminary
            injunction; and (4) the injunction is not adverse to the public
            interest.44


Contrary to the State’s argument, Mendoza has carried her burdern.

      First, Mendoza has a substantial likelihood of success the merits because the

Indigent Defense Act violates the Simmons principle—the fact that a defendant

can’t be forced to choose between two constitutional rights. The State doesn’t offer

any defense of the Act except to point to the parts of State v. Earl that find the Act

constitutional.45On that basis alone, the State argues that Mendoza has no

substantial likelihood of success on the choice-of-counsel claim.

      This, of course, misses the fact that, at least for this Court, Earl is only

persuasive authority. Whether the Indigent Defense Act is, in fact, unconstitutional

is a question of law for this Court to decide, and weighing against the Earl decision

are the six (or seven, depending on how your count) other state court decisions that

have concluded that it is unconstitutional to force a defendant to choose between


      43   Doc. 21, pp. 13–18.
      44   Id. at 13 (quoting Kikumura v. Hurley, 242 F.3d 950, 955 (10th Cir. 2001)).
      45   Id. at 13.
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counsel of choice and defense resources. Based on those decisions, as well as the

U.S. Supreme Court authority that makes any compelled choice between right

intolerable, Mendoza has succeeded in showing a substantial likelihood of success

on the merits.46

      The second required for a showing for a preliminary injunction is irreparable

injury if the preliminary injunction is denied. The State argues that Mendoza has

failed to show irreparable harm because she has only pointed to the 15-to-life

sentence she faces if convicted, and that if she is forced to go to trial, she will have

the service of counsel with an “ethical obligation” to provide effective assistance.47

This short-sighted view of the situation ignores that, whatever happens, Mendoza

will be forced into a trial in which she has been forced to give one right or another,

leaving any resulting verdict void. As already stated above, “a threat to an

individual’s federally protected rights constitutes irreparable injury where the

threat ‘cannot be eliminated by . . . defense against a single criminal prosecution.’”48

Needlessly forcing a defendant through an illegitimate, structural deficient trial is

certainly irreparable injury.

      The third required showing for a preliminary injunction is a showing that the

threatened injury to the Mendoza outweighs the injury to the State under the

preliminary injunction. The State again minimizes the injury Mendoza will suffer,

and then argues any delay will cause the victim’s representative a deprivation of his



      46 For the moment, a preliminary injunction based on the effective-assistance
of counsel claim will be reserved for a later date.
      47   Doc. 21, pp. 16–17.
      48   Walck, 472 F.3d at 1233 (citing Younger, 401 U.S. at 46).
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“statutory right to a speedy resolution of the criminal process.”49 While the victim’s

right to a speedy resolution is worthy of respect, it just doesn’t compare to

Mendoza’s interest in avoiding a proceeding in which in fundamental rights are

violated. Moreover, if Mendoza is forced into an intrinsically flawed trial under the

current Indigent Defense Act, the victim’s representative will actually suffer a

greater harm to the interest the State identifies. If the Indigent Defense Act is

unconstitutional as Mendoza has alleged, then the result will be overturned, and

the resolution of the criminal process will be longer, not shorter.

      Finally, the fourth showing required for a preliminary injunction is a showing

that the injunction is not against the public interest. The State claims that a

preliminary injunction would be against the public interest because it would

interfere with the State’s interest in enforcing its laws and delay justice.50 But as

just discussed, if Mendoza is forced into an illegitimate proceeding, any verdict will

be invalid. If the Indigent Defense Act is unconstitutional as Mendoza has shown,

then a preliminary injunction will serve the interests the State raises because it will

allow for a trial valid under the U.S. Constitution. Indeed, there can be no public

interest in compelling a person into a structural deficient trial.

      In short, if the Indigent Defense Act is unconstitutional, all the equities move

in Mendoza’s favor. Because the Act is unconstitutional, a preliminary injunction

should issue.




      49   Doc. 21, pp. 17–18.
      50   Doc. 21, p. 18.
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                                       II.
                                  Conclusion

      For the foregoing reasons, Mendoza asks this Court to deny the State’s

motion to dismiss her petition, deny the State’s motion to dismiss Weber County as

a party to these proceedings, and grant Mendoza’s motion for a preliminary

injunction.

      DATED this 14th day of September, 2015.


                                              /s/ Michael Studebaker
                                              (Signed by filing attorney with
                                              permission of co-counsel)

                                              /s/ Nathan Phelps
                                              Counsel for Victoria Mendoza




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